                           IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA



IN RE:


JOHN ARTHUR SEBERT, JR.                                                        CASE NO.: 20-bk-08876-SHG
ABBIE FAYE WILLARD
6278 N. CALLE DEL HALCON
TUCSON, AZ 85718




                      CHAPTER 13 TRUSTEE REPORT OF ALLOWED CLAIMS

    NOTICE is given that the claims listed have been filed and allowed pursuant to 11 U.S.C. Sec. 502 (a). The
claim amount and classification listed are pursuant to the confirmed Plan and Orders of the Court as determined
by the Trustee. In addition, the debtors' attorney will be paid $2,000.00 through the plan.

    Disbursements of plan funds to creditors listed and classified has or will commence pursuant to the
confirmed Plan and Orders of the Court. Unless an objection to claims together with a Notice of Hearing was
filed with the Clerk of the Bankruptcy Court on or before May 06, 2021, the claims will be paid as allowed and
classified on the following list without further notice.

                                                                /s/ Dianne C. Kerns 011557
                                                                Dianne C. Kerns, TRUSTEE




           MATTHEW THOMAS FOLEY                                 JOHN ARTHUR SEBERT, JR.
           LAW OFFICES OF MATTHEW                               ABBIE FAYE WILLARD
           FOLEY PLC                                            6278 N. CALLE DEL HALCON
           4400 E BROADWAY #811                                 TUCSON, AZ 85718
           TUCSON, AZ 85711


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CASE # : 20-08876              LISTING OF ALLOWED CLAIMS
 Trustee's                                                                            Interest
  Claim #    Creditor Name & Address                        Claim Amount               Rate
  0001       PRA RECEIVABLES MANAGEMENT, LLC                       $0.00                 0.00%
             PO BOX 41021
             NORFOLK, VA 23541
               Classified as: Unsecured
  0002       BANK OF AMERICA                                       $0.00                 0.00%
             4909 SAVARESE CIRCLE
             FL1-908-01-50
             TAMPA, FL 33634
                Classified as: Unsecured                          SCH F/
  0003       ARIZONA DEPARTMENT OF REVENUE                         $0.00                 0.00%
             PO BOX 29070
             PHOENIX, AZ 85038
               Classified as: Unsecured
  0004       BANK OF AMERICA                                       $0.00                 0.00%
             4909 SAVARESE CIRCLE
             FL1-908-01-50
             TAMPA, FL 33634
                Classified as: Unsecured                          SCH F/
  0005       BANK OF AMERICA                                       $0.00                 0.00%
             ATTN: BANKRUPTCY
             4909 SAVARESE CIRCLE
             TAMPA, FL 33634
                Classified as: Unsecured                          SCH F/
  0006       BANK OF AMERICA                                       $0.00                 0.00%
             ATTN: BANKRUPTCY
             PO BOX 982234
             EL PASO, TX 79998
               Classified as: Unsecured                           SCH F/
  0007       PORTFOLIO RECOVERY ASSOCIATES                    $11,317.87                 0.00%
             PO BOX 12914
             NORFOLK, VA 23541
               Classified as: Unsecured                           POC#14/SCH F/
  0008       BLITT AND GAINES, PC                                  $0.00                 0.00%
             661 GLENN AVENUE
             C/O BANK OF AMERICA
             WHEELING, IL 60090
                Classified as: Unsecured



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CASE # : 20-08876     LISTING OF ALLOWED CLAIMS - CONTINUED
 Trustee's                                                                            Interest
  Claim #    Creditor Name & Address                       Claim Amount                Rate
  0009       CAPITAL ONE BANK                                 $1,668.63                  0.00%
             BY AMERICAN INFOSOURCE LP AS
             AGENT
             PO BOX 71083
             CHARLOTTE, NC 28272-1083
               Classified as: Unsecured                          POC#11/SCH F/
  0010       CHASE CARD SERVICES                                  $0.00                  0.00%
             ATTN: BANKRUPTCY
             PO BOX 15298
             WILMINGTON, DE 19850
               Classified as: Unsecured                          SCH F/
  0011       CHASE CARD SERVICES                                  $0.00                  0.00%
             PO BOX 15369
             WILMINGTON, DE 19850
               Classified as: Unsecured                          SCH F/
  0012       LVNV FUNDING LLC                                $35,164.75                  0.00%
             RESURGENT CAPITAL SERVICES
             PO BOX 10587
             GREENVILLE, SC 29603-0587
               Classified as: Unsecured                          POC#9/SCH F/
  0013       ABSOLUTE RESOLUTIONS INVESTMENTS                 $1,312.99                  0.00%
             LLC
             8000 NORMAN CENTER DR #350
             BLOOMINGTON, MN 55437
                Classified as: Unsecured                         POC#10/CBSD
  0014       GURTSEL LAW FIRM                                     $0.00                  0.00%
             C/O BANK OF AMERICA
             9320 E. RAINTREE DRIVE
             SCOTTSDALE, AZ 85260
                Classified as: Unsecured
  0015       ILLINOIS DEPARTMENT OF REVENUE                       $0.00                  0.00%
             101 WEST JEFFERSON ST.
             SPRINGFIELD, IL 62702
                Classified as: Unsecured
  0016       INTERNAL REVENUE SERVICE                         $6,963.13                  0.00%
             PO BOX 7317
             PHILADELPHIA, PA 19101
               Classified as: Priority                           A.POC#3/19 T/R/PLN/SCH E

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 Trustee's                                                                           Interest
  Claim #    Creditor Name & Address                       Claim Amount               Rate

  0017       MIDLAND CREDIT MGMT                                $520.40                 0.00%
             PO BOX 2037
             WARREN, MI 48090
               Classified as: Unsecured                          POC#2/SCH F
  0018       NORDSTROM FSB                                        $0.00                 0.00%
             ATTN: BANKRUPTCY
             PO BOX 6555
             ENGLEWOOD, CO 80155
               Classified as: Unsecured                          SCH F/AMT $0.00
  0019       PALOMA ENCANTO HOA                                   $0.00                 0.00%
             C/O CADDEN COMMUNITY
             MANAGEMENT
             1870 W. PRINCE ROAD &#035;47
             TUCSON, AZ 85705
                Classified as: Secured                           SCH D/HOA/AMT
                                                                 $0.00/CURR/PLN/PAY O/S PLAN
  0020       PORTFOLIO RECOVERY ASSOCIATES                   $11,239.64                 0.00%
             PO BOX 12914
             NORFOLK, VA 23541
               Classified as: Unsecured                          POC#12/SCH F
  0021       LVNV FUNDING LLC                                $15,660.71                 0.00%
             RESURGENT CAPITAL SERVICES
             PO BOX 10587
             GREENVILLE, SC 29603-0587
               Classified as: Unsecured                          POC#4/SCH F
  0022       SELECT PORTFOLIO SERVICING                           $0.00                 0.00%
             PO BOX 65450
             SALT LAKE CITY, UT 84165
               Classified as: Secured                            A.POC#5/SCH D/2ND MTG/NO
                                                                 ARRS/PLN
  0023       SYNCB/PLCC                                           $0.00                 0.00%
             ATTN: BANKRUPTCY
             PO BOX 965060
             ORLANDO, FL 32896
               Classified as: Unsecured                          SCH F/AMT $0.00




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 Trustee's                                                                                            Interest
  Claim #     Creditor Name & Address                             Claim Amount                         Rate
   0024       TIAA FSB                                                   $500.00                         0.00%
              301 W BAY ST
              JACKSONVILLE, FL 32202
                 Classified as: Secured                                    POC#8/TRANS
   0025       PORTFOLIO RECOVERY ASSOCIATES                            $5,237.42                         0.00%
              PO BOX 12914
              NORFOLK, VA 23541
                Classified as: Unsecured                                   POC#13/SCH F/
   0026       LOANCARE LLC                                                 $0.00                         0.00%
              PO BOX 37628
              PHILADELPHIA, PA 19101
                Classified as: Secured                                     POC#8/SCH D/1ST MTG/PLN/NO
                                                                           ARRS/TRANS
   0027       BECKET & LEE LLP                                       $22,745.41                          0.00%
              PO BOX 3001
              MALVERN, PA 19355
                Classified as: Unsecured                                   POC#6/AMEX
   0028       INTERNAL REVENUE SERVICE                                 $5,657.47                         0.00%
              PO BOX 7317
              PHILADELPHIA, PA 19101
                Classified as: Unsecured                                   A.POC#3/15-16 T/R/
   0029       CAVALRY SPV I LLC                                        $1,555.67                         0.00%
              PO BOX 27288
              TEMPE, AZ 85282
                Classified as: Unsecured                                   POC#1/MACYS
   0030       BECKET & LEE LLP                                       $10,192.96                          0.00%
              PO BOX 3001
              MALVERN, PA 19355
                Classified as: Unsecured                                   POC#7/AMEX

On claims with Adequate Protection the interest as provided for in the plan, will be entered in the claim after the
Adequate Protection is paid.

As of the date of this report, we estimate this plan should run 60 months. Please be aware that any number of
modifications can affect the plan lengths, and as such this number can change.




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                                                    THIS ORDER IS APPROVED.

                                                    Dated: February 4, 2021




                                                     _________________________________
                                                     Scott H. Gan, Bankruptcy Judge




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                         Digitally signed by Dianne
                         C. Kerns
                         Date: 2021.02.04 08:54:21
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